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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CIBC Bank USA f/k/a The PrivateBank and       )
Trust Company, as Administrative Agent to all )
Lenders,                                      )
                                              ) Civil Action No. 18-cv-03964
                      Plaintiff,              )
                                              )
               v.                             ) Judge John Z. Lee
                                              )
JH Portfolio Debt Equities, LLC; JH Portfolio )
Debt Equities 2, LLC; JH Portfolio Debt       )
Equities 4, LLC; and JH Reviver LLC,          )
                                              )
                      Defendants.             )

       AGREED MOTION FOR ENTRY OF STIPULATED ORDER APPOINTING
                  RECEIVER WITH AMENDED EXHIBIT A

        CIBC Bank USA f/k/a The PrivateBank and Trust Company (“CIBC” or “Plaintiff”), as

Administrative Agent to the following Lenders: Bankers Trust Company, Inland Bank and Trust,

First Tennessee Bank National Association, ING Capital LLC, First Midwest Bank, First

Community Financial Bank, State Bank & Trust Company, and Busey Bank (collectively, the

“Lenders”), with the agreement of Defendants, moves this Court to enter the attached signed

Stipulated Order For Immediate Appointment of Receiver with an amended Exhibit A. In

support, Plaintiff states as follows:

        1.      Plaintiff filed its Complaint in this matter on June 6, 2018. (Dkt. 1.) The

Complaint arises from Defendants JH Portfolio Debt Equities, LLC (“JH”), JH Portfolio Debt

Equities 2, LLC (“JH 2”), JH Portfolio Debt Equities 4, LLC (“JH 4”), and JH Reviver LLC’s

(“JHR”) (collectively, “Defendants”) breach of its Credit Agreement1 with Plaintiff.



1
  All terms not otherwise defined in this Motion retain the same definition as in the Complaint (Dkt. 1)
and Plaintiff’s briefing in support of its Receiver Motion (Dkt. 8; Dkt. 27).
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       2.       On August 20, 2018, the parties entered into a Forbearance Agreement that

included a Stipulated Order for Immediate Appointment of Receiver, which was executed by all

Defendants.

       3.       Pursuant to the Agreed Joint Stipulated Order Regarding Timing of Appointment

of Receiver and for Other Relief, the Court entered the proposed Stipulated Order for Immediate

Appointment of Receiver (the “Order”). (Dkts. 80, 83.) The entered Order (the effective date of

which is stayed until February 12, 2019) includes an Exhibit A (see Dkt. 82), which defines

certain terms used in the Order.

       4.       Plaintiff, with the agreement of Defendants, now seeks to enter the Order with an

amended Exhibit A.

       5.       Defendant JH Portfolio Debt Equities, LLC is a member of JHPDE Finance I,

LLC and is the servicer of certain portfolios purchased by JHPDE Finance I, LLC. To acquire its

portfolios, JHPDE Finance I is the borrower of a credit facility from Fortress Credit Corp.

(“Fortress”).

       6.       Fortress has requested the addition of certain language to Exhibit A to the Order

to clarify the definition of “Receivership Property.” Specifically, Fortress requests the following

language:

                For the avoidance of doubt, notwithstanding any language to the
                contrary in the definition of ‘Receivership Property’ above, the
                Receivership Property shall not include: any interest that one or
                more Defendants may have in JHPDE Finance I, LLC, including,
                without limitation, any contractual rights that the Defendants may
                have pursuant to contracts either: (a) with JHPDE Finance I, LLC;
                (b) relating to JHPDE Finance I, LLC; or (c) relating to any
                Excluded Subsidiary Portfolio.

       7.       Plaintiff and Defendants have no objection to Fortress’s requested amendment.

The amendment clarifies and does not alter the parties’ understanding of the definition of


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“Receivership Property” or what it was intended to encompass. Other than the addition of the

language in paragraph 6 above, the Order and Exhibit A have not been amended or altered from

the version entered in Docket No. 82.

        WHEREFORE, Plaintiff requests that the Court enter the Stipulated Order for Immediate

Appointment of Receiver with an amended Exhibit A, both of which are attached hereto as

Exhibit A, and for any and all other and further relief as this Court deems just and proper.

Dated: February 7, 2019                      Respectfully submitted,


                                          By: /s/ Molly E. Thompson
                                             One of the Attorneys for Plaintiff, CIBC Bank USA
                                             f/k/a The PrivateBank and Trust Company, as
                                             Administrative Agent
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